AO 724
(Rev. 8/82)

 

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“Geisinger defendants” Penn State Geisinger Health System, Penn

 

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

TERRENCE E. BABB, M.D.,

Plaintiff : CIVIL NO. 4: 99-CV-+-1951

   
  

(Judge Muir)
Vv.
PENN STATE GEISINGER HEALTH S FILED
SYSTEM, ET AL : CRANTON
Defendants : . JUN 2 4 onge

DEPUTY ase
Pursuant to the court's judgment entered September 14, 2001
and Federal Rule of Civil Procedure 54(d) (1), costs are hereby taxed

against the plaintiff Terrence &. Babb, M.D. and in favor of

State Geisinger Clinic and Charles Maxin, M.D. in the amount of

$6,209.23. Costs are also taxed against the plaintiff Terrence E.

Babb, M.D. and in favor of “Centre Communit Hospital defendants”

 

Centre Community Hospital, Officer and Trustees in the amount of

$6,108.32.

ATTEST:

MAR EA D'ANDREA, Clerk

 

 
